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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                  10/16/2020

 TATIANA BERSENEVA,

                                   Plaintiff,
                                                                20-cv-5020 (ALC)
                       -against-
                                                                ORDER OF DISCONTINUANCE
 DIVERSIFIED ADJUSTMENT SERVICES,
 INC., ET AL.,

                                   Defendants.

ANDREW L. CARTER, JR., United States District Judge:

         It having been reported to the Court that this case has been or will be settled with

Diversified Adjustment Services, Inc., it is hereby ORDERED that the above-captioned action is

discontinued as to that defendant without costs and without prejudice to restoring the action to this

Court’s calendar if the application to restore the action is made within thirty days.

SO ORDERED.

Dated:      October 16, 2020
            New York, New York

                                                              ANDREW L. CARTER, JR.
                                                              United States District Judge
